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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 CLARISSA HARRIS,                                        Case No.: 2:19-cv-01678-APG-BNW

 4          Plaintiff                                  Order Transferring Case to the Unofficial
                                                                 Northern Division
 5 v.

 6 DIAMOND DOLLS OF NEVADA, LLC, et
     al.,
 7
            Defendants
 8
           This action was filed in the unofficial southern division of the court. However, it appears
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   from the complaint that all parties are located in northern Nevada and the actions giving rise to
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   the complaint occurred in northern Nevada. ECF No. 1 at 2-3.
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           IT THEREFORE IS ORDERED that this action is transferred to the unofficial northern
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   division of this court for all further proceedings. The clerk of the court shall transfer and reopen
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   this matter as a new action under a new docket number in the northern division, and the action
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   under this docket number shall be closed, without prejudice to the plaintiff regarding any federal
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   limitation period and filing fee.
16
           DATED this 26th day of September, 2019.
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                                                         ANDREW P. GORDON
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                                                         UNITED STATES DISTRICT JUDGE
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